                                                 Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.11 Page 1 of 28




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 1            Stephen B. Morris (126192)                                                                                            SuperiEir , a1
                                                                                                                                                 urt of C lif am1ia .
              The Law Offices of Stephen B. Morris                                                                                     · ount ef San 01ie ge 1




 2
              2305 Historic Decatur Rd .., Suite 100                                                                                12 · 412020 at •fi :.•..: :30 PM
 3            San Diego, CA. 92 I 06·                                                                                                 lerk ~f the Sup1eri!lr Durl:
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                                                                                                                               B     ·helsiea Martinez . Deputy l'=rk
              (619) 985-4462
 4        1
              Email: morris@sandiegolegal.com
 5,
              Attorneys for·Plaintiff
 6

 7
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                          FOR THE COUNTY OF SAN DIEG,O
 9

10

11

12 , WILLIAM D. PETTERSEN, Individually and)                                              Case No.: 31-2020-D004476fi.. CLJ-BT-CTL
13
              on Behalf of All Others Similarly Situated,                           ~
                                                                                          CLASS ACTION COMPLAINT FOR:
                                                                                    )
14                                      Plaintiff,                                  )                1. Violatio,n •Of False Advertising Law,
              vs.                                                                   )                        Cal. Bus. & Prof. Code §§ 17500, et
15                                                                                  )                  seq.; and
                                                                                    )               2. Violation of Unfair Competition Law,
16            CIRCLE K STORES, INC., an Arizona                                     )
              Corporation, and DOES 1-10                                                                    C.al. Bus. ,& Prof. Code§§ 17200, et
                                                                                    )                       seq.;
17                                                                                  )
                                        Defendant.                                  )
18                                                                                  )
                                                                                    )
19

20    1




                    Plaintiff William D. Pettersen (''Plaintiff'), by and through his attorneys, individually
21
              and on behalf ,o f all others similarly situated, brings this Class Action Complaint
22
23            (''Complaint'') against Defe11dant CIRCLE K STORES, INC., an Arizona corporation

24            (hereinafter referred .to as ''CIRCLE K'' or ''Defendant''), · and makes the following
25
          · allegations based upon his own know]edge and upon information and belief as to all other
26
              matt,ers, as follows:
27

28




                                                       CLASS ACTION COrv.IPLAINT - 1
                                                     Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.12 Page 2 of 28




    1

    2
                                                              INTRODUCTION
    3
                            14      This is a class action brought by Plaintiff individually, and on behalf of all
    4
                    ,o ther in,d ividuals similarly situated, who purchased Marlboro Special Blend cigarettes, and
    5

    6               other cigarettes, by the carton, which were markete,d, advertised, and sold by Defendant
    7               during the four years prior to the filing of this action. (the ''·Class Period'').
    8
        1       I           2.      CIRCLE K is an international chain of convenience stores, which operates
    9
                    approximately 9,800 stores in North America, together with over 2,500 stores in Europe,
10

11
            1


                    and with an additional 2,380 stores operating under ft.anchise agreements worldwid,e.

12                  CIRCLE K is the largest chain of company-owned and operated convenience stores in the
13
                    United States. CIRCLE K owns and operates stores in San Diego.
14
                            3.      The tr·ue names and capacities, whether individual, corporate, associate or
15 , ,
                    otherwise, ,of, defendants DQ,E S 1-10, inclusive, ,ar,e unlmown to Plaintiff, who therefore
16

17                  sues said defendants by such fictitious names. Plaintiff is informed and believes and based

18                  tl1ereon alleges that each of th:e defendants designated herein as a DOE defendant is in some
19
                    manner responsible for the damages alleged herein .
20  1




                           4.       Plaintiff is informed and believes, and thereon alleges that at all times her,e in
21

22
                    mentioned each of the defendants named as. a DOE •defendant was, and is, the agent, partner,

23 ,                parent corporation, joint venturer, alter ego, serva11t or employee of the other defendants,
24                  and that all actio11s taken by eacl1 said person or entity occurred in the scope of said .age11cy,
        .       I




2
                    partnership, or ,other relationship.
26

27              I




28




                                                           CLASS ACTION COMPLAINT - 2
                                                   Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.13 Page 3 of 28




 1                      5.      CIRCLE K sells cigarettes. It has sold cigarettes of multiple brands for more
 2
               than four years. Cig.a rettes are sold in either individltal packs or in packs of ten (10). When
 3
               sold together in packs often (10) the item is referred to .as a carton of cigarettes.
 4
                        6.      During the past four years, ,C IRCLE K has advertised, and continues to
 5

 6             advertise, that if a customer purchases two (2) packs of cig.ar·ettes, a discount will be applied,
 7             typically ranging from .$,1 to· $1 ..50. Based upon these advertisements, and during the class
 8
               period, Plaintiff has purchased from CIRCLE K multiple cartons of cigarettes.
 9
                        7.       Notwithstai1ding its advertised discount, and throughout the past four years,
10

11             if a customer presente,d to a cashier with a carton of cigarettes, as Plaintiff has, no discount

12             was/is applied, unless specific.ally requested by the custom:er.

13   !'I
                        8.       Thus, for example, if a $1.50 discount was/is being offered for the purchase
14
               of two (2) packs of cigarettes, the purchase of a carton ,o f cigar·e ttes (10 packs) should yield
15
               a .d iscount of $7 .50 p•e r ,c arton, but unle.ss spe·cifically r equested tl1e discou.n t is not, and has
                                                                                                     1



16

1 7· ·         not, been applied. Plaintiff has purchased cartons of cigarettes and had no discount applied,

18             while a discount was advertised.
19
                        9.       Plaintiff brings this class action pursuant to California Code of Civil
20
               Procedure section 382 on behalf of himself and all members of"" the following class (the
21

22
               ''Class''):

23                 All persons who purchased_, within th,e past four,years, a carton of cigarettes
                    from CIRCLE Kand did not receive an advertised disc,o unt while a giv,e n
24
                   •d iscount program was in effect.
25

26             0Excl11ded from the Class are: (1) any Judge or Magistrate presiding over this action and

27         I   members of their families; (2) Defendant, Defendant's subsidiaries, parents, successo,rs,
28




                                                         CLASS ACTION COMPLAINT - 3
                                                Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.14 Page 4 of 28




         '


 1       :.   pr,edecessors, and an)r entity in which Defend.a nt has a controlling interest, and its current
 2
              or forrner employees, officers, and directors; (3) co,u nsel for Plaintiff and Defendant; and
 3
              (4) legal 1~epresentatives, successors, ,o r assigns of any such e·x cluded persons.
 4   I




                      10.,    The Class is so numerous that joinder of all members is impracticable.
 5

 6   I        Though the exact number and identities of Class m,e mbers ar',e unknown at this time, based

 7            on information and belief, many thousands of persons have purchas,e d pertinent cartons of
 8
              cigar,ettes from CIRCLE K within the class period and not received the advertised discotmt
 9
              over the stat11tory period.
10

11                    I 1.    Comm,o n questions of law a.n d fact exist as to all Class members. These

12            common questions of law or fact predominate over any que·stions affecting only individual

13                                                                                                                            I'

              ,n1emb-ers of the Class. Common questions include, but are not ]imited to, the following,:                      I




14
                              (a) Whether Defendant engaged in deceptive and unfair business and trade
15
                              practice,s alleged herein;
16

17                            (b) Whether Defendant failed to apply advertised discounts to carton.s of

18                            cigarettes sold at its stor,e locations;
19
                              (c) Whethe1" Defendant falsely an.d deceptively misrepresented in its
20
                              advertisements and promotional materials,. and other materials, that the
21
                              purchase o,f two packs of cigarettes would result in a discount, when sold by
22

23                            the carton.;
24 ,                          (d) Whether the Class has been injured or damaged by virtue of Defendant's
                                                                                                                                  I



25
                                  unfajr an.d/or deceptive business practices and conduct;
26

27

28




                                                      CLASS ACTION COI\1PLAIN·r - 4
                                                    Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.15 Page 5 of 28




 1                                  (e) Whether the Class members who purchased cartons of cigarettes from
 2
                                       defendant suffered ,eco11omic harm and, if so, what is the mea.sure of that
 3
                                       harm; and
 4
                                    (f) Whether Defendant has been unjustly enriched by both receiving
 5

 6                                     cigarette manufacturer rebates and not giving advertised discounts to

 7                                     customers.
 8   I




                         12.        Plaintiff's claims are typical of the claims of the respective Class he seeks
 9
                 to represent, in that the named Plaintiff ,and all members.of the proposed Class have suffered
10

11           1   economic harm as a result o,f the same practices alleged herein. Plaintiff has no interests

12               adverse to the interests of the other members of the Class.
13                       1.).., .   Plaintiff will fairly and adequately protect the interests of the Class, and he
14
                 has retained attorneys exp,erienced in class action·s and complex litigation as c,oun.sel.
15
                         14.        Plaintiff and other members of the Class have suffered damages and, unless
16

17               remedie,d through restitution., CIRCLE K will retain substantial funds received as a result of

18               its wrongdoing. Absent a class action, the rnemb.ers of the Class will not be able to
19
                 effectively litig,ate thes,e claims and will suffer further losses, as Defendant will be allowed
20
                 to continue su,c h conduct with impunity and retain the proceeds of its ill-gotten gains.
21

22                       15.        Plaintiff avers that the prerequisites for class action treatment apply to this

23               action a,nd that que.stions of law or fact commo11 to the Class predominate over any questions
24 ,     1




                 affecting only individual memb.ers and that class action treatm,ent is superior to other
25
                 available methods fbr the fair and efficient adjudic.ation o,f the controversy which is the
26
                 subject of this a,ction. Plaintiff further states that the interests of judicial economy will be
27

28   I




                                                          CLASS ACTION' COMPLAINT - 5
                                                         Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.16 Page 6 of 28




    1                   served by concentrating litig:a tion concerning th ese claims in this Court, and that the
                                                                                                   1




    2
                        management of the Class will not be difficult.
    3
                                                         FIRST CAUSE OF A,CTION
    4
                                               (Viola.tion of California False Advertising Law,
    5
                                         Cal. Bus. & Prof. Code§§ 17500, et seq., ag:ainst defendants)
    6
                                           Plaintiff repeats and realleges each and every allegation contained above,.
    7       I




    8
                        .and, incorp,o rates by r.e ference all other paragraphs of this Complaint as if fully set forth

    9                   herein.

10                                         Each of the above misleading advertising practices set forth above
                                  17.
11
                        constitutes untrue or misleading advertising under the California False Advertising Law
                        1




12
                        (''FAL~''), California Business & Professions Code section 17500, et seq.
13

14                                18.     At all material times, Defendant's m,ark,eting materials misI·epresented or

15                      01nitted to state that Defendant's promotional discounts w,ere not automatically applied to·
16
                        carton purchases.
17
                                  ] 9.     D·e fendant is disseminating, marketing, and advertising, concerning its
18
                        cigarette sales., which by its nature is unfair, untrue, deceptive, and/or misleading within the
19

20                      rn,eaning of California Bu.siness .& Professions Code sectio11 17500,, et seq. Such

2                       advertisements are likely to, d.eceive, and in fact ha.ve deceived plaintiff and the ,class.
22              II
                                  20.     In making and disseminating the statements alleged herein, CIRCLE K knew
                                                                                         1




                '   I


23              I
                I   I




                    !   or should have known its advertisements were untrue and misleading, or that its
24
25                      representatio11,s and incentives have in the past, as well as current]y, not been automatically
                I




26      1




                        applie d to carton sales. Plaintiff and members of the Class, based their decisions to purchase
                              1




27

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                                                               CLASS ACTION COMPLAINT - 6
                                                        Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.17 Page 7 of 28




                 1   cartons of cigarettes in substantial part on Defendant's misrep,resentations and omitted
 2   I
                     material facts,. and they ha.v e bee11 injt1red thereby.
 3
                                                     SECOND CAUSE OF ACT'ION
 4                                        (Violation of California Unfair Competition Law,
                                   Cal. Bus. & Prof. Code §§ 17200, et seq., against all defendants)
 5

 6                          21.      Plaintiff repeats and realleges each and every allegation contained above,
 7                   and, incorporates. by reference all other paragraphs of this Comp,laint as though fully set
 8
                     forth herein.
 9
                             22.     Defendant has engaged in unfair competition within the meaning of California
10

1-                   Business & Pro.f essions Code section 17200, et seq., because Defendant's conduct is

12                   unlawful, misleading and/or unfair, a.s herein alleged.

13
                             23.        CIRCLE K's business practices are misleading because they were and are
14
                     likely to deceive consumers into believing that they are obtaining a discount when
15
             I
                     purchasing cartons of cigarettes, as opposed to individual packages.
16

17                           24.        Defendant's bu.s iness practices, and each of them~ are u11fair because they

18                   offend established p,ublic policy and/or are immoral, unethical,, oppr,essive, unscrupulous
19           I


             · and/or substantially injurious to co,nsumers, which harm greatly outweighs any benefit
20
                     associated with the business practice, in that Defendant omits to disclose material
21

22   I,              information about its advertised discounts and, as such. consumers are led to believe that

23                   their purchases of carton:s of cigarettes will yield the adv,ertised discounts when in fact they

24
                     d,o not, absent inquiry from a customer.
25
                             25.        Plaintiff, l1as standi11g to pursue this claim because he has been i11jured by
26
                     virtue of suffering a loss. of .money and/or property as a result of the wrongful conduct
27

28                   alleged l1erein.



                                                              CLASS ACTION COMPLAINT - 7
     •   I




         I
                                                 Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.18 Page 8 of 28




 1                       26.    Plaintiff and the Class are entitled to relief~, including full restitution and/or
 2
              disgorgement~ to the greatest extent permitted b)' law, "\\rhich may have bee.n realized by
 3
               Defendant as a re.suit of such business acts or p:ractices.
 4
                                                    PRAYER FOR RELIEF
 5

 6              WHEREFORE, Plaintiff, o•n behalf of himself' and on behalf .o f the Clas.s, prays for relief

 7            · as   follows:
      I   I




 8
                         A.     For an Order certifying this case as a class action against CIRCLE Kand
 9
               appointing Plaintiff as Representative of the Class;
10

11                       B.     Awarding monetary and actual damages .a nd/or restitution, as appropriate;

12                       C. -   A warding all costs, including experts,. fees ru1d atto·m eys' fees, expenses ru1d

13
                                costs of prosecuting this action; a11d for
14
                         D.     Stich other and further r•e lief as the Court may deem just and proper.
15

16                                                                              The Law Offices .of Stephen B. Morris
      1
          1




               Dated: December 4, 2020
17
                                                                               By:    S~~~
18                                                                             Stephen B. Morris,
                                                                               Attorney for Plaintiff and tl1e putative class
19

20

21

22

23
24

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2.8




                                                       CLASS ACTION COMPLAINT - 8
                                                                     Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.19 Page 9 of 28




                                                                                                                                                                                                           CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                                                      FOR COURT USE ONLY
      St,ephen B. Morris (SBN 126192)
      Th,e Law ,Q ffice of Stephen B. Morris
      2::\05 His.f.oric: DP-r.~tur Rd __ S11ite 1 no. S~n DiAao. CA. ~2106                                                                            ELE : T ~NIC LL FIL.ED
              TELEPHONE NO.: (6,19) 930-5467                     FAX NO. (Optional):                                                                    'Superigr ·· urt f · - Iif ~mi ·.
          ATTORNEY FOR (Name):          William D. Pettersen                                                                                                ~aunty' af S n Diego
     s ,u PERIOR COURT OF CALIIFORNJA, COUNTY OF San DieQO                                                                                               12              1
                                                                                                                                                                             020 · • [15 :[12 :3D Pt:·
      STREET ADDRESS:   330 West Broadw,a v
      MAitLING ADDRESS: 330 West Bro.adlw av
                                                                                                                                                     , lie - of t ;he ·r..1up ria1r ~,urt
     c1TY AND zrP cooE: San DieQo, 92101                                                                                                           B -·~els,e        rt·ne ·. Deput: · le
          BRANCH NAME: H1all of Justice
     CASE NAME:
     Pettersen v. Circle K Stores, Inc. and Does 1 to 10

               CIVIL CASE COVER SH,EET                                               Complex Case Designation                                      CASE NUMBER:

     ~x~I       Unlimi.t ed                  I      I' Limited                  D          Counter              D          Joinder                   37-202!0-000447165 .. C LJ .. B!T-CTL
                (Amount                                {Amount
                                                                           Filed with first ,appearance by defendant                              I JUDGE;   .
                d,emanded                              demanded .is.
                                                                          (Cal.. Rules of ,Court, rule 3.4,0·2) ' oEPT.: Judge                                                Kenneth J r.Jedel
                exceeds $25,000)                       $25,000)
                                                        Items 1--6 below must be completed (see instructions on page 2).
      1. Ch,eck one box .below for the case type that best descrlb,es this ,case:
          Auto Tort                                                        Contract                                                         ProvisionaHy Complex Civil Litigation
          D              Auto (22)                                         D             Breach of contract/warranty (06)                   (Cal. Rules of Court 1 rules 3.400-3.403)
          D              Uninsured m,otorist (46)                         D              .Rule 3.740 collections (09)                      CJ          Antitrust/Trade regulation (03)
          Other PI/.PD/W D (Personal Injury/Property
                                  1

                                                                          D              Other collect[ons (09)                            D I Construction defect (10)
          Damage/Wrongful Death) Tort                                     r-i
                                                                          L__J           Insurance coverage (1,8)                          D           Mass tort (40)
          CJ             Asbestos (04)
                                                                          D              Other contract (37)
                                                                                                                                           CJ          S,e curities titigation (28)
          D
          ~
                         Product liabiHty (24)
                                                                           ~Prope~                                                         D           Environmental/T'oxic tort (30)
          L___J          Medica.l malpractice (45 )                       D              Eminent domain/Inverse                            D     Insurance coverage claims arising from the
                                                                                                                                                 above listed provisionally complex case
          D              Other PI/PD/WD (23)                                             condemnation (14) ·
                                                                                                                                                 types {41)
          Non-Pl/PD/WO (Other) Tort                                       D              Wrongful eviction (33)                            Enforcement of Judgment
          CR]            Business tort/unfair business practiice (07)     CJ   Other r,eal property (26)                                   CJ          Enforcement of judgment (20)
          I          I   Civil rights (08)                                Unlawful Oetainor                                                M'iscenaneous Civil Complaint
          D              Defamation (13),                                 D              Commercial (31)                                   LJ         RIC0(27)
          D              Fraud (16)                                       D Residential (32)                                               D           Other complaint (not specifie,d above) (42)
          CJ             lntei!lectual property (19)                      D ' Drugs (38)                                                   M i:s cellaneous Civil Petition
                                                                                                                                              1




          D              Professional negligence (25)                     Judicial Review
                                                                                                                                           :C J       Partnershi1p and corporate governance (21')
          ,D   Other non-Pt/PD/WD                 tort (35,)              D              Asset forfeiture (05)
          Employment                                                      CJ             Petition re~ arbitration award (111)              CJ         Other petitlon (not specified above) (43)

          CJ             Wrongful term:inatf on (36)                      CJ         •
                                                                                         Writ of mandate (02)
          I ~~]          Other employment (1'5)                           D              Other Judicial review (3.9)
     2.       Thjs case        D       is        [TI    is n.o t
                                                   compl,ex under rule 3.400 of the Californ ia Ru.les of Court. If the case is complex, m:a rk the
          factors requiring exceptional judicial management:
          a. 1   1
                   I Large number of separately· represented parties      d.                                I )
                                                                                    Lar:g,,e number of witnesses
          b.    D            Extensive motion practice raising diffi.cult or novel                    e.    D         Coordination with related actions pending in one or more
                             issues that will b,e time-co,nsuming to resolve                                          courts in other counties, states , or countries, or in a federa.l
          c. .D              Substantial amount of documentary evidence                                              co,urt
                                                                                                f.          D      Substantiall postjudlg ment jud,icial supervision
 3.         Remedies sought (check all th,at apply): a. I                 ."'   11   monetary b.       D         nonmonetary; declaratory or injunctive reJief c .                              D         punitive
 4.        .Number of causes of a,ction (specify):
 5.           This cas.e·      [TI is         CJ        is not     a class action suit.
 6.
 1
           If there are any known related cases, file and serve a noti,ce of r,e lated case. {You may use form CM-016.)
Dat,e: 12/4/2020
 Stephen B. Morris
                                       (1YPE OR PRINT NAME).
                                                                                                   NOTICE
                                                                                                                                      •
      • Plaintiff m,ust file this ,c over sheet with the first pap,e r filed in the action or procee·d ing (except small claims cases or cases fil,e d
        under the Prob,ate C·ode, Fam·Iy Code, or Welfare and Institutions Code). (Cal. Ru.les of Court, rule 3.220.) Failure to fHe may result
          in sanctions.
     • File this cover sheet in addition to any cover sheet required by loca.l court rule.
     • If this case ;is complex under rule 3.400 et seq . of the CaUfornia Rules of Court, you must serve a copy of thrs cover sheet on alJ
       oth,er parties to the action or proceeding.
     • Unless this is a cofl!ections case under rule 3. 740 or a complex case, this ,cover sheet wilJ be used for statistical purposes only.
                                                                                                                                                                                                        Page 1 of2
Form Adopted for Mandatory Use                                                                                                                          Cal. Rules of Court,. ru les 2.30, 3.220, 3.400'--3.403, 3 .740;
.Judicial Council of California                                             CIVIL CASE COVER SH:E ET                                                             CaL Standards of Judicial AdmJnistralion. std. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                                                                         www.courts.ca.gov
                                                   Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.20 Page 10 of 28




                                        INSTRUCTIONS ON HOW TO COMPLETE THIE COVER SHEET
  To Plain.t iffs and Others Filing, Firs·t Papers. If you are filing a first paper (for exa.mple, a complaint) in a civil case, you must
  complete and. file 1 along with your first paperr the Civil Case Cover Sh,eet contained on pag,e 1. This information will be used to compile
                                                                                                     1




  statistlcs about the types and, numbers of cases filed . You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best des,cribes the case . lf the case fits both a ,gen,eral and a more speclfic type of case listed in item 1,
 .ch,eck the more specific one. If the case has multiple causes of action 1 check the box that b•est indicates the primary cause of action .
 To assi:st you in completing the sheet, examples of the cases that b,elong under each case typ,e in i;tem 1 are provided below. A 1           cover
 sheet must be fUed only with your initial paper. Failure to file a cov·er she,et with the first p·a ;per filed in a civil case may subject a party,
  its cou11s,el, or both to san.ctmons under rules .2.30 an-d 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "colle,ctions case under rule 3.740 is defined as an a.ction for recovery of money owed
                                                                                      11



  in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees , a.rising from a trans.action in whjch
  property,, services,, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recov,ery of real property., (4) reoovery of personal property, or (5) a prejudgment writ of
 attachment. Tlhe· identification of a case as a rule 3.740 coHections case on this form means that it will be exempt from the general
 Ume-for-serviice requ.irements and case management rules, unless a defendant files a responsive pleading. A rule 3 ..740 collections
 case will be subject to the: requirem1ents for service and obtaining a judgment in ru:le 3.740.
 To Parties in Complex ·C ases. In complex cases on ty, parties must also use the Civil Case Cover Sheet to d.esignate whether the
 case is com,pl.ex. ,If a pJaintiff believes the case is complex under rule 3.4 00 of the California Rules of Court, thiis must be indicated by
                                                                                                 1




 completing the ap propriate boxes in items 1 and 2. If a plaintiff designates a ,case as, complex, the cover sheet must be served w.ith the
                             1




 complah1t on all parties to the action . A d,efendant may fiJe and serve no later than the time of its first ap,pearance a joinder in th e                                 1




 plaintiff's designatiion, a counter-designation that the case is not complex, or, i:f the plainti1
                                                                                                  ff has made no designation, a d,e signation that
the case is com1
               plex.                                               CASE TYPES A.N.D EXAMP,LES
 Auto Tort                                            Contract                                                                    Provisional y Complex ·Civil Litigation {Cal.
      Auto (22)-Personal Injury/Property                   Breach of Contr act/Warranty (06)                                      Rules of Court Rules 3.400-3 ..403)
           Damage/Wrongful Death                              Breach of Rental/Lease         . .                                       Antitrust/Trade Regulation (03)
         Un insured Motorist (46) (if the                         Contract (not unla~~f .deta1ner                                       Construction Defect (10)
         case involves an uninsured                                    or wrongful evictJon)                                            Claims Involving Mass Tort (40)
          motorist claim subject to                              Contrac~arranty Breach-Se_ller                                         Securiti e,s Litigation (28)
          arbitration, check this item                               ~la1nb_ff (n.o t fraud or neg/Jgence)                              Environmental/Toxic Tort (30)
          instead of Auto)                                       Negligent Breach of Co"ntract/                                         Insurance Coverage Claims
  Other PI/PD,JWD (Personal Injury/                                    Warrano/ _                        .                                   (arising from provisionally complex
  Property Damage/Wrongful Death.)                             Ot~er Breach of ContracUWarranty                                              case type listed above) (41)
  Tort                                                     Collections (e .g ., money owed, open                                  Enfor,c ement of Judgment
        Asbestos (04)                                            book a~caunts) (09)                         . .                     Enforcem.ent of Judgiment {20)
          Asbestos Property Damage                              Collection ~ase-Seller Pla1nt1~                                         Abstract of Judgment (Out of
          Asbestos Personal lnju.ry/                            Other Promissory Note/Collechons                                                County)
               Wrongful Death                                    ._Case                 . .                                           Confession of Judgment (non-
        Product Liab.i lity (not asbestos or               Insurance Coverage (not prov1s1onally                                            domestic relations)
           toxic/environmental) (24)                           complex) (1.S) .                                                       Sister State Judgment
        Medical Malpractice (45),                              Auto Subrogation                                                      .A d.mi nistrative Agency Award
            Medical Malpractice-                               Other Coverage                                                              (not unpaid taxes)
                 Physic[ans &. Surgeons                    Other Contract (37)                                                         Petition/Certification of Entry of
        Other Professional Health Care                         Contractual Fraud                                                            Judgment on Unpaid Taxes
               Malpractice                                     Other Contract Dispute                                                 Other Enforcement of Judgment
        Other PI/PD/WD· (23)                          Real Property                                                                        Case
           Premises Liability (e.g., slip                Em[nent Dornainill nverse                                                Miscel laneous ·Civil Co.m plaint
               and fall)                                       Condemnation (14)                                                     RfCO {27)
           Intentional .Bodi;ly .Injury/PD/WO              W rongful E:viction (33)                                                  Other Complaint (not specified
                   -
                 (e.g., assau 1t, vandalism
                                               )           Other Real Property (e .g ., quiet titlie) {2.6)                              above) (42)
            Intentional Infliction of                          Writ of Possession of Real Property                                        Declaratory Rel ief Only
               Emotional Distress                               Mo.r tgage Forec!osure                                                    Injunctive Relief Only (non-
            Negligent lnflict,1on of                            Quiet Title                                                                    h.arassment)
                 Emotiona.l Dirs tress                          Other Real Property (not eminent                                          M!e chanics Lien
                                                                domain, landlord/tenant, or                                               Other Commerci'al Complaint
            Other Pil/PD/WD
                                                                foreclosure)                                                                   Case (non-tort/non-complex)
  Non-PI/PD/WD (Other) Tort
     Business Tort/U nfair Business
                                                     Unlawtul Detainer                                                                    Other Civil Complaint
        Practice (07)                                      Com.mercial (31)                                                                    (non-torl/non-complex)
     Civil Rights (e .g., discrim inaUon,.
                                                           Residentiar (32)                                                       Miscellaneous Civil Petition
                                                        Drugs (38) (if the c~s€! involves illegal                                    Partnership and Corporate
             false arrest) (not civil
                                                        drugs, check this item; otherwise,                                              Governance (21)
             harassment) (08)
                                                        report as ,c ·o mmercial or Residential)
       !Defamation (e.g1.• slander, libel)1                                                                                          Other Petition (not specified
             (13)                                    Judicial Review                                                                     above) (43)
       Fraud (16)                                         Asset F,orfeiture (05)                                                         Civil Harassment
       Intellectual Property (19')
                                                          Petition Re: Arbitration Award (11}                                            Work place Vioience
       Professiional Negligence (25)                      Writ of Mandate (02)                                                           Elder/Depet1dent Adult
           Legal Malpractice                                    Writ-Administrative M.andamus                                                  Abuse
           Other Professiona.l Malpractice                      Writ-Mandamus on Limited Court                                           Electron Contest
                                                                   Case Matter                                                           Petition for Name Change
                (n.o t medical or legal)
                                                                Writ- Other Limited C,o u rt Case
       Other Non-:PI./PD/WD Tort (35)                                                                                                    P•etition for Relief From Late
  Employment                                                       Review                                                                      Claim
       W rongful Termination (36)                         Oth@r Judicial Review (39)                                                     Other Civil Petition
                                                                Rieview of Health Officer Order
       Other Empl!oyment (15)
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                                                                Notice of Appeal- Labor
                                                                     Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                                                      Page 2 of 2
                                                                CIVIL CASE ,COVER SHEET
         Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.21 Page 11 of 28
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101-3827
BRANCH NAME:         Central
TELEPHONE NUMBER: (619) 450-7066

PLAINTIFF(S) / PETITIONER(S):              William D Pettersen Individually and on Behalf of All Others Similarly Situated

DEFENDANT(S) / RESPONDENT(S): Circle K Stores Inc


 WILLIAM D PETTERSEN INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED VS CIRCLE K STORES INC [E-FILE]
                                                                                                          CASE NUMBER:
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT
 CONFERENCE on MANDATORY eFILE CASE                                                                       37-2020-00044765-CU-BT-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Kenneth J Medel                                                                             Department: C-66

COMPLAINT/PETITION FILED: 12/04/2020

TYPE OF HEARING SCHEDULED                              DATE                  TIME               DEPT                  JUDGE
Civil Case Management Conference                       08/06/2021            08:30 am           C-66                  Kenneth J Medel


Due to the COVID-19 pandemic, all hearings will be conducted remotely until further notice. Absent an order of the court, personal
appearances at the hearing will not be allowed. For information on arranging telephonic or video appearances, contact CourtCall at
(888)882-6878, or at www.courtcall.com. Please make arrangements with CourtCall as soon as possible.
A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division II, CRC Rule 3.725).
All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR* options.

IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.
ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.
TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.

COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.
DEFENDANT’S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.
MANDATORY eFILE: Case assigned to mandatory eFile program per CRC 3.400-3.403 and SDSC Rule 2.4.11. All documents must
      be eFiled at www.onelegal.com. Refer to General Order in re procedures regarding electronically imaged court records,
      electronic filing, and access to electronic court records in civil and probate cases or guidelines and procedures.
COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.
*ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).



SDSC CIV-721 (Rev. 01-17)                                                                                                               Page: 1
                                                         NOTICE OF CASE ASSIGNMENT
      Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.22 Page 12 of 28




                              Superior Court of California
                                 County of San Diego


             NOTICE OF ELIGIBILITY TO eFILE
        AND ASSIGNMENT TO IMAGING DEPARTMENT

      This case is eligible for eFiling. Should you prefer to electronically file documents, refer to
General Order in re procedures regarding electronically imaged court records, electronic filing,
and access to electronic court records in civil and probate cases for rules and procedures or
contact the Court's eFiling vendor at www.onelegal.com for information.
       This case has been assigned to an Imaging Department and original documents attached to
pleadings filed with the court will be imaged and destroyed. Original documents should not be
filed with pleadings. If necessary, they should be lodged with the court under California Rules of
Court, rule 3.1302(b).

        On August 1, 2011 the San Diego Superior Court began the Electronic Filing and Imaging Pilot
Program (“Program”). As of August 1, 2011 in all new cases assigned to an Imaging Department all
filings will be imaged electronically and the electronic version of the document will be the official
court file. The official court file will be electronic and accessible at one of the kiosks located in the
Civil Business Office and on the Internet through the court’s website.

        You should be aware that the electronic copy of the filed document(s) will be the official court
record pursuant to Government Code section 68150. The paper filing will be imaged and held for
30 days. After that time it will be destroyed and recycled. Thus, you should not attach any
original documents to pleadings filed with the San Diego Superior Court. Original documents
filed with the court will be imaged and destroyed except those documents specified in
California Rules of Court, rule 3.1806. Any original documents necessary for a motion hearing or
trial shall be lodged in advance of the hearing pursuant to California Rules of Court, rule 3.1302(b).
      It is the duty of each plaintiff, cross-complainant or petitioner to serve a copy of this notice with
the complaint, cross-complaint or petition on all parties in the action.
       On all pleadings filed after the initial case originating filing, all parties must, to the extent it is
feasible to do so, place the words “IMAGED FILE” in all caps immediately under the title of the
pleading on all subsequent pleadings filed in the action.




                                                                                                         Page: 2
                                                                     Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.23 Page 13 of 28




                                                                                                                                                                                                           CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                                                      FOR COURT USE ONLY
      St,ephen B. Morris (SBN 126192)
      Th,e Law ,Q ffice of Stephen B. Morris
      2::\05 His.f.oric: DP-r.~tur Rd __ S11ite 1 no. S~n DiAao. CA. ~2106                                                                            ELE : T ~NIC LL FIL.ED
              TELEPHONE NO.: (6,19) 930-5467                     FAX NO. (Optional):                                                                    'Superigr ·· urt f · - Iif ~mi ·.
          ATTORNEY FOR (Name):          William D. Pettersen                                                                                                ~aunty' af S n Diego
     s ,u PERIOR COURT OF CALIIFORNJA, COUNTY OF San DieQO                                                                                               12              1
                                                                                                                                                                             020 · • [15 :[12 :3D Pt:·
      STREET ADDRESS:   330 West Broadw,a v
      MAitLING ADDRESS: 330 West Bro.adlw av
                                                                                                                                                      , lie - of t ;he ·r..1up ria1r ~,urt
     c1TY AND zrP cooE: San DieQo, 92101                                                                                                            B -·~els,e        rt·ne ·. Deput: · le
          BRANCH NAME: H1all of Justice
     CASE NAME:
     Pettersen v. Circle K Stores, Inc. and Does 1 to 10

               CIVIL CASE COVER SH,EET                                                Complex Case Designation                                      CASE NUMBER:

     ~x~I       Unlimi.t ed                  I      I' Limited                   D          Counter              D         Joinder                   37-202!0-000447165 .. C LJ .. B!T-CTL
                (Amount                                {Amount
                                                                            Filed with first ,appearance by defendant                             I JUDGE;   .
                d,emanded                              demanded .is.
                                                                          (Cal.. Rules of ,Court, rule 3.4,0·2) ' oEPT.: Judge                                                Kenneth J r.Jedel
                exceeds $25,000)                       $25,000)
                                                        Items 1--6 below must be completed (see instructions on page 2).
      1. Ch,eck one box .below for the case type that best descrlb,es this ,case:
          Auto Tort                                                        Contract                                                         ProvisionaHy Complex Civil Litigation
          D              Auto (22)                                         D              Breach of contract/warranty (06)                  (Cal. Rules of Court 1 rules 3.400-3.403)
          D              Uninsured m,otorist (46)                          D              .Rule 3.740 collections (09)                      CJ         Antitrust/Trade regulation (03)
          Other PI/.PD/W D (Personal Injury/Property
                                  1

                                                                           D              Other collect[ons (09)                            D I Construction defect (10)
          Damage/Wrongful Death) Tort                                      r-i
                                                                           L__J           Insurance coverage (1,8)                          D          Mass tort (40)
          CJ             Asbestos (04)
                                                                           D              Other contract (37)
                                                                                                                                            CJ         S,e curities titigation (28)
          D
          ~
                         Product liabiHty (24)
                                                                           ~Prope~                                                          D          Environmental/T'oxic tort (30)
          L___J          Medica.l malpractice (45 )                        D              Eminent domain/Inverse                            D     Insurance coverage claims arising from the
                                                                                                                                                  above listed provisionally complex case
          D              Other PI/PD/WD (23)                                              condemnation (14) ·
                                                                                                                                                  types {41)
          Non-Pl/PD/WO (Other) Tort                                        D              Wrongful eviction (33)                            Enforcement of Judgment
          CR]            Business tort/unfair business practiice (07)      CJ   Other r,eal property (26)                                  CJ          Enforcement of judgment (20)
          I          I   Civil rights (08)                                 Unlawful Oetainor                                                M'iscenaneous Civil Complaint
          D              Defamation (13),                                  D              Commercial (31)                                  LJ          RIC0(27)
          D              Fraud (16)                                        D Residential (32)                                               D          Other complaint (not specifie,d above) (42)
          CJ             lntei!lectual property (19)                       D ' Drugs (38)                                                   M i:s cellaneous Civil Petition
                                                                                                                                              1




          D              Professional negligence (25)                      Judicial Review
                                                                                                                                           :C J        Partnershi1p and corporate governance (21')
          ,D   Other non-Pt/PD/WD                 tort (35,)              D               Asset forfeiture (05)
          Employment                                                      CJ              Petition re~ arbitration award (111)             CJ          Other petitlon (not specified above) (43)

          CJ             Wrongful term:inatf on (36)                      CJ          •
                                                                                          Writ of mandate (02)
          I ~~]          Other employment (1'5)                           D               Other Judicial review (3.9)
     2.       Thjs case        D       is        [TI    is n.o t
                                                   compl,ex under rule 3.400 of the Californ ia Ru.les of Court. If the case is complex, m:a rk the
          factors requiring exceptional judicial management:
          a. 1   1
                   I Large number of separately· represented parties      d.                                I )
                                                                                    Lar:g,,e number of witnesses
          b.    D            Extensive motion practice raising diffi.cult or novel                     e.   D         Coordination with related actions pending in one or more
                             issues that will b,e time-co,nsuming to resolve                                          courts in other counties, states , or countries, or in a federa.l
          c. .D              Substantial amount of documentary evidence                                               co,urt
                                                                                                 f.         D       Substantiall postjudlg ment jud,icial supervision
 3.         Remedies sought (check all th,at apply): a. I                  ."'   11   monetary b.       D         nonmonetary; declaratory or injunctive reJief c .                             D         punitive
 4.        .Number of causes of a,ction (specify):
 5.           This cas.e·      [TI is         CJ        is not     a class action suit.
 6.
 1
           If there are any known related cases, file and serve a noti,ce of r,e lated case. {You may use form CM-016.)
Dat,e: 12/4/2020
 Stephen B. Morris
                                       (1YPE OR PRINT NAME).
                                                                                                    NOTICE
                                                                                                                                       •
      • Plaintiff m,ust file this ,c over sheet with the first pap,e r filed in the action or procee·d ing (except small claims cases or cases fil,e d
        under the Prob,ate C·ode, Fam·Iy Code, or Welfare and Institutions Code). (Cal. Ru.les of Court, rule 3.220.) Failure to fHe may result
          in sanctions.
     • File this cover sheet in addition to any cover sheet required by loca.l court rule.
     • If this case ;is complex under rule 3.400 et seq . of the CaUfornia Rules of Court, you must serve a copy of thrs cover sheet on alJ
       oth,er parties to the action or proceeding.
     • Unless this is a cofl!ections case under rule 3. 740 or a complex case, this ,cover sheet wilJ be used for statistical purposes only.
                                                                                                                                                                                                        Page 1 of2
Form Adopted for Mandatory Use                                                                                                                          Cal. Rules of Court,. ru les 2.30, 3.220, 3.400'--3.403, 3 .740;
.Judicial Council of California                                              CIVIL CASE COVER SH:E ET                                                            CaL Standards of Judicial AdmJnistralion. std. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                                                                         www.courts.ca.gov
                                                   Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.24 Page 14 of 28




                                        INSTRUCTIONS ON HOW TO COMPLETE THIE COVER SHEET
  To Plain.t iffs and Others Filing, Firs·t Papers. If you are filing a first paper (for exa.mple, a complaint) in a civil case, you must
  complete and. file 1 along with your first paperr the Civil Case Cover Sh,eet contained on pag,e 1. This information will be used to compile
                                                                                                     1




  statistlcs about the types and, numbers of cases filed . You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best des,cribes the case . lf the case fits both a ,gen,eral and a more speclfic type of case listed in item 1,
 .ch,eck the more specific one. If the case has multiple causes of action 1 check the box that b•est indicates the primary cause of action .
 To assi:st you in completing the sheet, examples of the cases that b,elong under each case typ,e in i;tem 1 are provided below. A 1           cover
 sheet must be fUed only with your initial paper. Failure to file a cov·er she,et with the first p·a ;per filed in a civil case may subject a party,
  its cou11s,el, or both to san.ctmons under rules .2.30 an-d 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "colle,ctions case under rule 3.740 is defined as an a.ction for recovery of money owed
                                                                                      11



  in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees , a.rising from a trans.action in whjch
  property,, services,, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recov,ery of real property., (4) reoovery of personal property, or (5) a prejudgment writ of
 attachment. Tlhe· identification of a case as a rule 3.740 coHections case on this form means that it will be exempt from the general
 Ume-for-serviice requ.irements and case management rules, unless a defendant files a responsive pleading. A rule 3 ..740 collections
 case will be subject to the: requirem1ents for service and obtaining a judgment in ru:le 3.740.
 To Parties in Complex ·C ases. In complex cases on ty, parties must also use the Civil Case Cover Sheet to d.esignate whether the
 case is com,pl.ex. ,If a pJaintiff believes the case is complex under rule 3.4 00 of the California Rules of Court, thiis must be indicated by
                                                                                                 1




 completing the ap propriate boxes in items 1 and 2. If a plaintiff designates a ,case as, complex, the cover sheet must be served w.ith the
                             1




 complah1t on all parties to the action . A d,efendant may fiJe and serve no later than the time of its first ap,pearance a joinder in th e                                 1




 plaintiff's designatiion, a counter-designation that the case is not complex, or, i:f the plainti1
                                                                                                  ff has made no designation, a d,e signation that
the case is com1
               plex.                                               CASE TYPES A.N.D EXAMP,LES
 Auto Tort                                            Contract                                                                    Provisional y Complex ·Civil Litigation {Cal.
      Auto (22)-Personal Injury/Property                   Breach of Contr act/Warranty (06)                                      Rules of Court Rules 3.400-3 ..403)
           Damage/Wrongful Death                              Breach of Rental/Lease         . .                                       Antitrust/Trade Regulation (03)
         Un insured Motorist (46) (if the                         Contract (not unla~~f .deta1ner                                       Construction Defect (10)
         case involves an uninsured                                    or wrongful evictJon)                                            Claims Involving Mass Tort (40)
          motorist claim subject to                              Contrac~arranty Breach-Se_ller                                         Securiti e,s Litigation (28)
          arbitration, check this item                               ~la1nb_ff (n.o t fraud or neg/Jgence)                              Environmental/Toxic Tort (30)
          instead of Auto)                                       Negligent Breach of Co"ntract/                                         Insurance Coverage Claims
  Other PI/PD,JWD (Personal Injury/                                    Warrano/ _                        .                                   (arising from provisionally complex
  Property Damage/Wrongful Death.)                             Ot~er Breach of ContracUWarranty                                              case type listed above) (41)
  Tort                                                     Collections (e .g ., money owed, open                                  Enfor,c ement of Judgment
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          Asbestos Property Damage                              Collection ~ase-Seller Pla1nt1~                                         Abstract of Judgment (Out of
          Asbestos Personal lnju.ry/                            Other Promissory Note/Collechons                                                County)
               Wrongful Death                                    ._Case                 . .                                           Confession of Judgment (non-
        Product Liab.i lity (not asbestos or               Insurance Coverage (not prov1s1onally                                            domestic relations)
           toxic/environmental) (24)                           complex) (1.S) .                                                       Sister State Judgment
        Medical Malpractice (45),                              Auto Subrogation                                                      .A d.mi nistrative Agency Award
            Medical Malpractice-                               Other Coverage                                                              (not unpaid taxes)
                 Physic[ans &. Surgeons                    Other Contract (37)                                                         Petition/Certification of Entry of
        Other Professional Health Care                         Contractual Fraud                                                            Judgment on Unpaid Taxes
               Malpractice                                     Other Contract Dispute                                                 Other Enforcement of Judgment
        Other PI/PD/WD· (23)                          Real Property                                                                        Case
           Premises Liability (e.g., slip                Em[nent Dornainill nverse                                                Miscel laneous ·Civil Co.m plaint
               and fall)                                       Condemnation (14)                                                     RfCO {27)
           Intentional .Bodi;ly .Injury/PD/WO              W rongful E:viction (33)                                                  Other Complaint (not specified
                   -
                 (e.g., assau 1t, vandalism
                                               )           Other Real Property (e .g ., quiet titlie) {2.6)                              above) (42)
            Intentional Infliction of                          Writ of Possession of Real Property                                        Declaratory Rel ief Only
               Emotional Distress                               Mo.r tgage Forec!osure                                                    Injunctive Relief Only (non-
            Negligent lnflict,1on of                            Quiet Title                                                                    h.arassment)
                 Emotiona.l Dirs tress                          Other Real Property (not eminent                                          M!e chanics Lien
                                                                domain, landlord/tenant, or                                               Other Commerci'al Complaint
            Other Pil/PD/WD
                                                                foreclosure)                                                                   Case (non-tort/non-complex)
  Non-PI/PD/WD (Other) Tort
     Business Tort/U nfair Business
                                                     Unlawtul Detainer                                                                    Other Civil Complaint
        Practice (07)                                      Com.mercial (31)                                                                    (non-torl/non-complex)
     Civil Rights (e .g., discrim inaUon,.
                                                           Residentiar (32)                                                       Miscellaneous Civil Petition
                                                        Drugs (38) (if the c~s€! involves illegal                                    Partnership and Corporate
             false arrest) (not civil
                                                        drugs, check this item; otherwise,                                              Governance (21)
             harassment) (08)
                                                        report as ,c ·o mmercial or Residential)
       !Defamation (e.g1.• slander, libel)1                                                                                          Other Petition (not specified
             (13)                                    Judicial Review                                                                     above) (43)
       Fraud (16)                                         Asset F,orfeiture (05)                                                         Civil Harassment
       Intellectual Property (19')
                                                          Petition Re: Arbitration Award (11}                                            Work place Vioience
       Professiional Negligence (25)                      Writ of Mandate (02)                                                           Elder/Depet1dent Adult
           Legal Malpractice                                    Writ-Administrative M.andamus                                                  Abuse
           Other Professiona.l Malpractice                      Writ-Mandamus on Limited Court                                           Electron Contest
                                                                   Case Matter                                                           Petition for Name Change
                (n.o t medical or legal)
                                                                Writ- Other Limited C,o u rt Case
       Other Non-:PI./PD/WD Tort (35)                                                                                                    P•etition for Relief From Late
  Employment                                                       Review                                                                      Claim
       W rongful Termination (36)                         Oth@r Judicial Review (39)                                                     Other Civil Petition
                                                                Rieview of Health Officer Order
       Other Empl!oyment (15)
                                                                                           1




                                                                Notice of Appeal- Labor
                                                                     Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                                                      Page 2 of 2
                                                                CIVIL CASE ,COVER SHEET
                                                 Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.25 Page 15 of 28




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 1            Stephen B. Morris (126192)                                                                                         SuperiEir , a1
                                                                                                                                              urt of C lif am1ia .
              The Law Offices of Stephen B. Morris                                                                                  · ount ef San 01ie ge 1




 2
              2305 Historic Decatur Rd .., Suite 100                                                                             12 · 412020 at •fi :.•..: :30 PM
 3            San Diego, CA. 92 I 06·                                                                                              lerk ~f the Sup1eri!lr Durl:
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                                                                                                                            B     ·helsiea Martinez . Deputy l'=rk
              (619) 985-4462
 4        1
              Email: morris@sandiegolegal.com
 5,
              Attorneys for·Plaintiff
 6

 7
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                          FOR THE COUNTY OF SAN DIEG,O
 9

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11

12 , WILLIAM D. PETTERSEN, Individually and)                                              Case No.: 31-2020-D004476fi.. CLJ-BT-CTL
13
              on Behalf of All Others Similarly Situated,                           ~
                                                                                          CLASS ACTION COMPLAINT FOR:
                                                                                    )
14                                      Plaintiff,                                  )                1. Violatio,n •Of False Advertising Law,
              vs.                                                                   )                        Cal. Bus. & Prof. Code §§ 17500, et
15                                                                                  )                   seq.; and
                                                                                    )                2. Violation of Unfair Competition Law,
16            CIRCLE K STORES, INC., an Arizona                                     )
              Corporation, and DOES 1-10                                                                     C.al. Bus. ,& Prof. Code§§ 17200, et
                                                                                    )                        seq.;
17                                                                                  )
                                        Defendant.                                  )
18                                                                                  )
                                                                                    )
19

20    1




                    Plaintiff William D. Pettersen (''Plaintiff'), by and through his attorneys, individually
21
              and on behalf ,o f all others similarly situated, brings this Class Action Complaint
22
23            (''Complaint'') against Defe11dant CIRCLE K STORES, INC., an Arizona corporation

24            (hereinafter referred .to as ''CIRCLE K'' or ''Defendant''), · and makes the following
25
          · allegations based upon his own know]edge and upon information and belief as to all other
26
              matt,ers, as follows:
27

28




                                                        CLASS ACTION COrv.IPLAINT - 1
                                                     Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.26 Page 16 of 28




    1

    2
                                                              INTRODUCTION
    3
                            14      This is a class action brought by Plaintiff individually, and on behalf of all
    4
                    ,o ther in,d ividuals similarly situated, who purchased Marlboro Special Blend cigarettes, and
    5

    6               other cigarettes, by the carton, which were markete,d, advertised, and sold by Defendant
    7               during the four years prior to the filing of this action. (the ''·Class Period'').
    8
        1       I           2.      CIRCLE K is an international chain of convenience stores, which operates
    9
                    approximately 9,800 stores in North America, together with over 2,500 stores in Europe,
10

11
            1


                    and with an additional 2,380 stores operating under ft.anchise agreements worldwid,e.

12                  CIRCLE K is the largest chain of company-owned and operated convenience stores in the
13
                    United States. CIRCLE K owns and operates stores in San Diego.
14
                            3.      The tr·ue names and capacities, whether individual, corporate, associate or
15 , ,
                    otherwise, ,of, defendants DQ,E S 1-10, inclusive, ,ar,e unlmown to Plaintiff, who therefore
16

17                  sues said defendants by such fictitious names. Plaintiff is informed and believes and based

18                  tl1ereon alleges that each of th:e defendants designated herein as a DOE defendant is in some
19
                    manner responsible for the damages alleged herein .
20  1




                           4.       Plaintiff is informed and believes, and thereon alleges that at all times her,e in
21

22
                    mentioned each of the defendants named as. a DOE •defendant was, and is, the agent, partner,

23 ,                parent corporation, joint venturer, alter ego, serva11t or employee of the other defendants,
24                  and that all actio11s taken by eacl1 said person or entity occurred in the scope of said .age11cy,
        .       I




2
                    partnership, or ,other relationship.
26

27              I




28




                                                           CLASS ACTION COMPLAINT - 2
                                                   Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.27 Page 17 of 28




 1                      5.      CIRCLE K sells cigarettes. It has sold cigarettes of multiple brands for more
 2
               than four years. Cig.a rettes are sold in either individltal packs or in packs of ten (10). When
 3
               sold together in packs often (10) the item is referred to .as a carton of cigarettes.
 4
                        6.      During the past four years, ,C IRCLE K has advertised, and continues to
 5

 6             advertise, that if a customer purchases two (2) packs of cig.ar·ettes, a discount will be applied,
 7             typically ranging from .$,1 to· $1 ..50. Based upon these advertisements, and during the class
 8
               period, Plaintiff has purchased from CIRCLE K multiple cartons of cigarettes.
 9
                        7.       Notwithstai1ding its advertised discount, and throughout the past four years,
10

11             if a customer presente,d to a cashier with a carton of cigarettes, as Plaintiff has, no discount

12             was/is applied, unless specific.ally requested by the custom:er.

13   !'I
                        8.       Thus, for example, if a $1.50 discount was/is being offered for the purchase
14
               of two (2) packs of cigarettes, the purchase of a carton ,o f cigar·e ttes (10 packs) should yield
15
               a .d iscount of $7 .50 p•e r ,c arton, but unle.ss spe·cifically r equested tl1e discou.n t is not, and has
                                                                                                      1



16

1 7· ·         not, been applied. Plaintiff has purchased cartons of cigarettes and had no discount applied,

18             while a discount was advertised.
19
                        9.       Plaintiff brings this class action pursuant to California Code of Civil
20
               Procedure section 382 on behalf of himself and all members of"" the following class (the
21

22
               ''Class''):

23                 All persons who purchased_, within th,e past four,years, a carton of cigarettes
                    from CIRCLE Kand did not receive an advertised disc,o unt while a giv,e n
24
                   •d iscount program was in effect.
25

26             0Excl11ded from the Class are: (1) any Judge or Magistrate presiding over this action and

27         I   members of their families; (2) Defendant, Defendant's subsidiaries, parents, successo,rs,
28




                                                          CLASS ACTION COMPLAINT - 3
                                               Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.28 Page 18 of 28




         '


 1       :.   pr,edecessors, and an)r entity in which Defend.a nt has a controlling interest, and its current
 2
              or forrner employees, officers, and directors; (3) co,u nsel for Plaintiff and Defendant; and
 3
              (4) legal 1~epresentatives, successors, ,o r assigns of any such e·x cluded persons.
 4   I




                      10.,    The Class is so numerous that joinder of all members is impracticable.
 5

 6   I        Though the exact number and identities of Class m,e mbers ar',e unknown at this time, based

 7            on information and belief, many thousands of persons have purchas,e d pertinent cartons of
 8
              cigar,ettes from CIRCLE K within the class period and not received the advertised discotmt
 9
              over the stat11tory period.
10

11                    I 1.    Comm,o n questions of law a.n d fact exist as to all Class members. These

12            common questions of law or fact predominate over any que·stions affecting only individual

13                                                                                                                            I'

              ,n1emb-ers of the Class. Common questions include, but are not ]imited to, the following,:                      I




14
                              (a) Whether Defendant engaged in deceptive and unfair business and trade
15
                              practice,s alleged herein;
16

17                            (b) Whether Defendant failed to apply advertised discounts to carton.s of

18                            cigarettes sold at its stor,e locations;
19
                              (c) Whethe1" Defendant falsely an.d deceptively misrepresented in its
20
                              advertisements and promotional materials,. and other materials, that the
21
                              purchase o,f two packs of cigarettes would result in a discount, when sold by
22

23                            the carton.;
24 ,                          (d) Whether the Class has been injured or damaged by virtue of Defendant's
                                                                                                                                  I



25
                                  unfajr an.d/or deceptive business practices and conduct;
26

27

28




                                                     CLASS ACTION COI\1PLAIN·r - 4
                                                    Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.29 Page 19 of 28




 1                                  (e) Whether the Class members who purchased cartons of cigarettes from
 2
                                       defendant suffered ,eco11omic harm and, if so, what is the mea.sure of that
 3
                                       harm; and
 4
                                    (f) Whether Defendant has been unjustly enriched by both receiving
 5

 6                                     cigarette manufacturer rebates and not giving advertised discounts to

 7                                     customers.
 8   I




                         12.        Plaintiff's claims are typical of the claims of the respective Class he seeks
 9
                 to represent, in that the named Plaintiff ,and all members.of the proposed Class have suffered
10

11           1   economic harm as a result o,f the same practices alleged herein. Plaintiff has no interests

12               adverse to the interests of the other members of the Class.
13                       1.).., .   Plaintiff will fairly and adequately protect the interests of the Class, and he
14
                 has retained attorneys exp,erienced in class action·s and complex litigation as c,oun.sel.
15
                         14.        Plaintiff and other members of the Class have suffered damages and, unless
16

17               remedie,d through restitution., CIRCLE K will retain substantial funds received as a result of

18               its wrongdoing. Absent a class action, the rnemb.ers of the Class will not be able to
19
                 effectively litig,ate thes,e claims and will suffer further losses, as Defendant will be allowed
20
                 to continue su,c h conduct with impunity and retain the proceeds of its ill-gotten gains.
21

22                       15.        Plaintiff avers that the prerequisites for class action treatment apply to this

23               action a,nd that que.stions of law or fact commo11 to the Class predominate over any questions
24 ,     1




                 affecting only individual memb.ers and that class action treatm,ent is superior to other
25
                 available methods fbr the fair and efficient adjudic.ation o,f the controversy which is the
26
                 subject of this a,ction. Plaintiff further states that the interests of judicial economy will be
27

28   I




                                                          CLASS ACTION' COMPLAINT - 5
                                                         Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.30 Page 20 of 28




    1                   served by concentrating litig:a tion concerning th ese claims in this Court, and that the
                                                                                                    1




    2
                        management of the Class will not be difficult.
    3
                                                         FIRST CAUSE OF A,CTION
    4
                                               (Viola.tion of California False Advertising Law,
    5
                                         Cal. Bus. & Prof. Code§§ 17500, et seq., ag:ainst defendants)
    6
                                           Plaintiff repeats and realleges each and every allegation contained above,.
    7       I




    8
                        .and, incorp,o rates by r.e ference all other paragraphs of this Complaint as if fully set forth

    9                   herein.

10                                         Each of the above misleading advertising practices set forth above
                                  17.
11
                        constitutes untrue or misleading advertising under the California False Advertising Law
                        1




12
                        (''FAL~''), California Business & Professions Code section 17500, et seq.
13

14                                18.     At all material times, Defendant's m,ark,eting materials misI·epresented or

15                      01nitted to state that Defendant's promotional discounts w,ere not automatically applied to·
16
                        carton purchases.
17
                                  ] 9.     D·e fendant is disseminating, marketing, and advertising, concerning its
18
                        cigarette sales., which by its nature is unfair, untrue, deceptive, and/or misleading within the
19

20                      rn,eaning of California Bu.siness .& Professions Code sectio11 17500,, et seq. Such

2                       advertisements are likely to, d.eceive, and in fact ha.ve deceived plaintiff and the ,class.
22              II
                                  20.     In making and disseminating the statements alleged herein, CIRCLE K knew
                                                                                          1




                '   I


23              I
                I   I




                    !   or should have known its advertisements were untrue and misleading, or that its
24
25                      representatio11,s and incentives have in the past, as well as current]y, not been automatically
                I




26      1




                        applie d to carton sales. Plaintiff and members of the Class, based their decisions to purchase
                              1




27

28




                                                                CLASS ACTION COMPLAINT - 6
                                                        Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.31 Page 21 of 28




                 1   cartons of cigarettes in substantial part on Defendant's misrep,resentations and omitted
 2   I
                     material facts,. and they ha.v e bee11 injt1red thereby.
 3
                                                     SECOND CAUSE OF ACT'ION
 4                                        (Violation of California Unfair Competition Law,
                                   Cal. Bus. & Prof. Code §§ 17200, et seq., against all defendants)
 5

 6                          21.      Plaintiff repeats and realleges each and every allegation contained above,
 7                   and, incorporates. by reference all other paragraphs of this Comp,laint as though fully set
 8
                     forth herein.
 9
                             22.     Defendant has engaged in unfair competition within the meaning of California
10

1-                   Business & Pro.f essions Code section 17200, et seq., because Defendant's conduct is

12                   unlawful, misleading and/or unfair, a.s herein alleged.

13
                             23.        CIRCLE K's business practices are misleading because they were and are
14
                     likely to deceive consumers into believing that they are obtaining a discount when
15
             I
                     purchasing cartons of cigarettes, as opposed to individual packages.
16

17                           24.        Defendant's bu.s iness practices, and each of them~ are u11fair because they

18                   offend established p,ublic policy and/or are immoral, unethical,, oppr,essive, unscrupulous
19           I


             · and/or substantially injurious to co,nsumers, which harm greatly outweighs any benefit
20
                     associated with the business practice, in that Defendant omits to disclose material
21

22   I,              information about its advertised discounts and, as such. consumers are led to believe that

23                   their purchases of carton:s of cigarettes will yield the adv,ertised discounts when in fact they

24
                     d,o not, absent inquiry from a customer.
25
                             25.        Plaintiff, l1as standi11g to pursue this claim because he has been i11jured by
26
                     virtue of suffering a loss. of .money and/or property as a result of the wrongful conduct
27

28                   alleged l1erein.



                                                               CLASS ACTION COMPLAINT - 7
     •   I




         I
                                                Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.32 Page 22 of 28




 1                       26.    Plaintiff and the Class are entitled to relief~, including full restitution and/or
 2
              disgorgement~ to the greatest extent permitted b)' law, "\\rhich may have bee.n realized by
 3
               Defendant as a re.suit of such business acts or p:ractices.
 4
                                                   PRAYER FOR RELIEF
 5

 6              WHEREFORE, Plaintiff, o•n behalf of himself' and on behalf .o f the Clas.s, prays for relief

 7            · as   follows:
      I   I




 8
                         A.     For an Order certifying this case as a class action against CIRCLE Kand
 9
               appointing Plaintiff as Representative of the Class;
10

11                       B.     Awarding monetary and actual damages .a nd/or restitution, as appropriate;

12                       C. -   A warding all costs, including experts,. fees ru1d atto·m eys' fees, expenses ru1d

13
                                costs of prosecuting this action; a11d for
14
                         D.     Stich other and further r•e lief as the Court may deem just and proper.
15

16                                                                              The Law Offices .of Stephen B. Morris
      1
          1




               Dated: December 4, 2020
17
                                                                              By:    S~~~
18                                                                            Stephen B. Morris,
                                                                              Attorney for Plaintiff and tl1e putative class
19

20

21

22

23
24

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2.8




                                                       CLASS ACTION COMPLAINT - 8
          Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.33 Page 23 of 28


 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                FORCOURTUSEONI.Y
    ~ CENTRAL DIVISION, CEITTRAI. COURTHOUSE, 1100 UNION ST, SAN DIEGO, CA 92101
     CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92101
                                                                                                               F.:Cink'11 •~• Lsu,ulorECm! D
     CENTRAL DIVISION, SMALL CLAIMS, 330 W. BROADWAY, SAN DIEGO, CA 92101

    §CENTRAL DIVISION, CIVIL, 330 W. BROADWAY, ROOM 225, SAN DIEGO, CA 92101
     EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020
     NORTH COUNTY DIVISION, 325 S. MELROSE DR., VISTA, CA 92081
     SOUTH COUNTY DIVISION. 500 3RD AVE.. CHULA VISTA, CA 91910
 PLAINTIFF(S}                                                                                                    DEC O8 2020
 William D Pettersen Individually and on Behalf of All Others Slmilarlv Situated
 DEFENDANT(S)                                                                                               By: C. Martinez, Deputy
 Circle K Stores Inc
                                                                                                   CASE NUMBER
                 APPLICATION AND ORDER CORRECTING COURT RECORD
                                                                                                   37-2020-00044765-CU-BT-CTL


Upon review of the Register of Actions (ROA} of the above-entitled case, it has been determined that ROA # _3_ _ __,
_s_u_m_m_o_n_s_ls_s_u_ed_E_nt~ry.....__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ was erroneously entered
on 12/8/20


             D The document was filed in the wrong case and has since been filed in the correct case.
             D The incorrect filing document name was selected in the case management system and has since been
                   corrected to accurately reflect the document title.
             18] Other: Summons was not issued. Summons was rejected at case initiation.


It is hereby requested that the court make an order striking the erroneous entry from the ROA.


                                                                               Clerk of the Superior Court

                                                                                                                               C. MARTINEZ
Date: 12/8/20                                                                  by,     ( \ ::vY\,c.           ~                                  , Deputy



                                                                  ORDER



The ROA entry indicated above is hereby stricken from the ROA.
0     Other:-----------------------------------



IT IS SO ORDERED.


Date:    _DE_c_o_a_20_20___
                                                                          /J.~"          "! A .4-,, 4
                                                                                . _ill//', l _P"}tt· /..i
                                                                            . ·· v'//1 P.,,,,- .
                                                                                                             7,111
                                                                                                    •1 ·• ,·;'
                                                                                                                      Fl - ,1        /J
                                                                                                                j.<i ; "0.: ·•:' . ,. ,'
                                                                                                                   U-:.l..:,c;;J,;-:....(
                                                                                        Judge/Commissioner of the Superior Court
                                                                                                Kenneth J. Medel

s • sc A• M-381 {Rev. 11117)        APPLICATION AND ORDER CORRECTING COURT RECORD                                                Coda Clv. Proc. §128(8)(8)
                                                                    Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.34 Page 24 of 28




                                                                                                                                                                                                     SUM-100
                                                        SUMMONS                                                                                                                 FOR COURT USE ONLY
                                                                                                                                                                           (SO.LO PARA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
                                                                                                                                                                          ELE,CTROtllCALL Y FILED
                                                                                                                                                                           Superia1r ourt et alif omi:a,
 NOTICE TO DEFENDANT:                                                                                                                                                         Count y 111 San Diego
 (A VISO AL DEMANDADO):                                                                                                                                                    12 '112020 at 04:2.3 :DI• Pt..1
 •C ircle K Stores, Inc., an Arizona Corporation, and DOES 1- 10                                                                                                        10 lerk af the S1,.1p1erior ,c ourt
                                                                                                                                                                      B Kristin SarianDsos , Deputy Clerk

 YOU ARE BEING SUED BY :PLAIN'TIFF':      1




 (LO ESTA DEMANDANDO EL DEMANDA.NTE):
 William D. Pettersen, .Individually an,d on Behalf of AH Others Simil'arfy Situated
                                                                                                                                                             I•



 .NOTICEt You have been sued. The court may decide against you without your being heard untess you respond within 30 days. Read the                                                               informatiQn
  below.
     You have 30 CALENDAR DAYS after this summons and Jegal papers are served on you to file a written response at this court and have a copy
   served on t1h e plaintiff. A letter or phone call win not protect you. Your written response mu·st be in pro.per legaf form if you want the court to, hear your
                   1




   case. There m:ay be a court form that you can use for you:r response. You ca.n find these co'urt forms and .m ore tnformation at the Californi:a Cou.r ts       .
   Online S,elf-H,e lp Center (www.courfinfo.ca..gov/selfheJp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee 1 ask the                                                      1




   court clerk for a fee waiver form. If you do not file your res:ponse on time 1 you may lose the case by default,. and your wages, money, and property may !
 ' be taken without further w:arning ·f rom the court.
     There are other legal requirements. You may want to call an attom,ey right away. If you do not :kn.ow an attorney, you may want to caU an attorney
:'. referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal senlices program . You can locate
·th,ese nonprofit groups at the Cafifornia Legal Services Web sfte (www.fawhefpcalifo·mia.org). the California Courts On:!ine Se:lf~Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or ar1bitration award of $10,000 or more in a civil case. The court's lien must be pa i:d before the court will dismiss the case.
:: ;AV/SO! Lohan demandado. Si no responde dentro de 30 dlas; la code pu,e de decicllren s.u contra sin escucharsu vetsi6n. Lea la informaci6.n a
   continuaci6n.
     Tiene 30 DIAS DE CA,L ENDARIO despues de que le e.n treguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta                                                                           I


   aotte y hacerque se entregue una oopia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta porescrito 0ene que estar
 en tormato legal correcto si desea qu,e procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrarestos formulan·os de la carte y m.a sinformaci6n en el Centro •de Ayuda de las ,C ortes de California (www.s,u aorle.ca.gov), en la
 biblioteca de /eyes de su co.n dado o en la carte que le quede mcis cerca. Si no puede pagar la .c uota de presentaci6n, pida a.I secretatia de la corte que
 /e de un formulario de e·x enci6n de paga de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento,y la carte le podra           1




 quitar su sue/do, dinero y bienes sin ma.s advertencia.
     Hay otros requisltos legates. Es recomendable que /fame a un aboga·do inmediatamente. Si no conoce a un aboga,do, puede /Jamar a un servicio de
 remision a aboga,dos. Si no puede pagar a un abogado> es posible que cumpla con fos requisitos para obtener selVicios legales gratuitos de un
 programa de se'fvicios fegales sin nnes de Jucro. Puede encontrar estos grupos sin nnes de lucro en el sitio web de California Legat Services,
 (www.fawhelpcalifomia .org), en el Centro de Ayu·d a de las Cortes de California, (www.sucorle.ca.gov) o poniendose en contacto con la corte o el
·colegio de abogados locales_ AV/SO,: Por fey, la c,orte tiene derech'o, a reclam.ar las cuotas y /os costos exentos por imponer un gravam·en sobre
 cualq,u ier recuperaci6n de $10,0D0 6 mas de valor reciblda mediante un acuerdo o un·a oonces/6n de arbttraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que fa, cotte pueda desechar •el oaso.
The name and address of the couit is:.                                                                                                             . CASE NUMBER: (Numero· d'el Caso):                                 I'


(Stperimri<)UdfteWe·Wfl.Ml'8,,~ J ) f San Diego                                                                                                    37-2·020-000 44 765-CU-BC-CT.L
                                                                                                                                                                      1


 330 West Broadway, San Dieg·o 92101:          1


Hall of Justice
The name, address and teleph•one, nu:m·b er of plaintiffs attorney or plaintiff without an attorne·yt is: (B nomb·re~ la direcci6n y el numero
                                  1                                                              1

de te/efono def abogado def demandante, o de/ demandante que no tiene abogado~ &s):


DATE:                                                                                                                   Cler.k, by                                                                   , Deputy
                 1211412020                                                                                                                                           K. Sorianosos
(Fecha)                                                                                                                  (Secretario)                                                                (Adjunto)
                                      -                   -

(For proof of s,ervice of this summons? u·se Proof of Service of Summons (form POS'-01 O).J
(Para prueha da entrega de esta citav6n use el formulario Proof ,o,f Service of Summons, (POS,- 010).)
                                                   ,N OTICE TO THE PERSON· SERVED: You are se,rved
  {SEAL]
                                                   1.   D     as an individual defend1ant.
                                               2.       D     as the person sued under the fictitlous nam·e of (specify):
                                                   3.   I •- -, on behalf of ('specify):             Circle K Stores, 1·nc.

                                                        under.   m       CCP 416.10 (corporation)                                                    CJ      GCP 416.60 (minor)
                                                                 CJ      CCP 416.20 (defunct corporation)                                            I l     CCP 418.70 (c,o nserv~te,9)
                                                                 D       CCP 416.40 (as,s o ciation or partnership)
                                                                                                          1                                          CJ      C,C P 416.90 (author,ized parson)
                                                                 D       other (specf!y).-
                                               4.       D     by :Persona1I d.efjvery on (date)
                                                                                                                                                                                                        Pa e1,of1
Form Adopted for .Mandato.ry Use                                                            SUMMONS                                                                           Code of CiviliProcedure §§412.20 , 465
Judicial Counoil of Cali.fom.ia                                                                                                                                                                   www.courls.ca.gov
SUM~100 [Rev. July 1, 2009]

Fur your ,protectt.o,n and p.rivacy~.p1ease·'.pre$·S·.the.· Olear·                 _ _ _ __ ___                                          ·
Thts Form button ans you ·h ave printed the fQnn. ·                                f. Print this form J.                  I   Save this foFm             I
                                                                    Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.35 Page 25 of 28




                                                                                                                                                                                                     SUM-100
                                                        SUMMONS                                                                                                                 FOR COURT USE ONLY
                                                                                                                                                                           (SO.LO PARA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
                                                                                                                                                                          ELE,CTROtllCALL Y FILED
                                                                                                                                                                           Superia1r ourt et alif omi:a,
 NOTICE TO DEFENDANT:                                                                                                                                                         Count y 111 San Diego
 (A VISO AL DEMANDADO):                                                                                                                                                    12 '112020 at 04:2.3 :DI• Pt..1
 •C ircle K Stores, Inc., an Arizona Corporation, and DOES 1- 10                                                                                                        10 lerk af the S1,.1p1erior ,c ourt
                                                                                                                                                                      B Kristin SarianDsos , Deputy Clerk

 YOU ARE BEING SUED BY :PLAIN'TIFF':      1




 (LO ESTA DEMANDANDO EL DEMANDA.NTE):
 William D. Pettersen, .Individually an,d on Behalf of AH Others Simil'arfy Situated
                                                                                                                                                             I•



 .NOTICEt You have been sued. The court may decide against you without your being heard untess you respond within 30 days. Read the                                                               informatiQn
  below.
     You have 30 CALENDAR DAYS after this summons and Jegal papers are served on you to file a written response at this court and have a copy
   served on t1h e plaintiff. A letter or phone call win not protect you. Your written response mu·st be in pro.per legaf form if you want the court to, hear your
                   1




   case. There m:ay be a court form that you can use for you:r response. You ca.n find these co'urt forms and .m ore tnformation at the Californi:a Cou.r ts       .
   Online S,elf-H,e lp Center (www.courfinfo.ca..gov/selfheJp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee 1 ask the                                                      1




   court clerk for a fee waiver form. If you do not file your res:ponse on time 1 you may lose the case by default,. and your wages, money, and property may !
 ' be taken without further w:arning ·f rom the court.
     There are other legal requirements. You may want to call an attom,ey right away. If you do not :kn.ow an attorney, you may want to caU an attorney
:'. referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal senlices program . You can locate
·th,ese nonprofit groups at the Cafifornia Legal Services Web sfte (www.fawhefpcalifo·mia.org). the California Courts On:!ine Se:lf~Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or ar1bitration award of $10,000 or more in a civil case. The court's lien must be pa i:d before the court will dismiss the case.
:: ;AV/SO! Lohan demandado. Si no responde dentro de 30 dlas; la code pu,e de decicllren s.u contra sin escucharsu vetsi6n. Lea la informaci6.n a
   continuaci6n.
     Tiene 30 DIAS DE CA,L ENDARIO despues de que le e.n treguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta                                                                           I


   aotte y hacerque se entregue una oopia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta porescrito 0ene que estar
 en tormato legal correcto si desea qu,e procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrarestos formulan·os de la carte y m.a sinformaci6n en el Centro •de Ayuda de las ,C ortes de California (www.s,u aorle.ca.gov), en la
 biblioteca de /eyes de su co.n dado o en la carte que le quede mcis cerca. Si no puede pagar la .c uota de presentaci6n, pida a.I secretatia de la corte que
 /e de un formulario de e·x enci6n de paga de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento,y la carte le podra           1




 quitar su sue/do, dinero y bienes sin ma.s advertencia.
     Hay otros requisltos legates. Es recomendable que /fame a un aboga·do inmediatamente. Si no conoce a un aboga,do, puede /Jamar a un servicio de
 remision a aboga,dos. Si no puede pagar a un abogado> es posible que cumpla con fos requisitos para obtener selVicios legales gratuitos de un
 programa de se'fvicios fegales sin nnes de Jucro. Puede encontrar estos grupos sin nnes de lucro en el sitio web de California Legat Services,
 (www.fawhelpcalifomia .org), en el Centro de Ayu·d a de las Cortes de California, (www.sucorle.ca.gov) o poniendose en contacto con la corte o el
·colegio de abogados locales_ AV/SO,: Por fey, la c,orte tiene derech'o, a reclam.ar las cuotas y /os costos exentos por imponer un gravam·en sobre
 cualq,u ier recuperaci6n de $10,0D0 6 mas de valor reciblda mediante un acuerdo o un·a oonces/6n de arbttraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que fa, cotte pueda desechar •el oaso.
The name and address of the couit is:.                                                                                                             . CASE NUMBER: (Numero· d'el Caso):                                 I'


(Stperimri<)UdfteWe·Wfl.Ml'8,,~ J ) f San Diego                                                                                                    37-2·020-000 44 765-CU-BC-CT.L
                                                                                                                                                                      1


 330 West Broadway, San Dieg·o 92101:          1


Hall of Justice
The name, address and teleph•one, nu:m·b er of plaintiffs attorney or plaintiff without an attorne·yt is: (B nomb·re~ la direcci6n y el numero
                                  1                                                              1

de te/efono def abogado def demandante, o de/ demandante que no tiene abogado~ &s):


DATE:                                                                                                                   Cler.k, by                                                                   , Deputy
                 1211412020                                                                                                                                           K. Sorianosos
(Fecha)                                                                                                                  (Secretario)                                                                (Adjunto)
                                      -                   -

(For proof of s,ervice of this summons? u·se Proof of Service of Summons (form POS'-01 O).J
(Para prueha da entrega de esta citav6n use el formulario Proof ,o,f Service of Summons, (POS,- 010).)
                                                   ,N OTICE TO THE PERSON· SERVED: You are se,rved
  {SEAL]
                                                   1.   D     as an individual defend1ant.
                                               2.       D     as the person sued under the fictitlous nam·e of (specify):
                                                   3.   I •- -, on behalf of ('specify):             Circle K Stores, 1·nc.

                                                        under.   m       CCP 416.10 (corporation)                                                    CJ      GCP 416.60 (minor)
                                                                 CJ      CCP 416.20 (defunct corporation)                                            I l     CCP 418.70 (c,o nserv~te,9)
                                                                 D       CCP 416.40 (as,s o ciation or partnership)
                                                                                                          1                                          CJ      C,C P 416.90 (author,ized parson)
                                                                 D       other (specf!y).-
                                               4.       D     by :Persona1I d.efjvery on (date)
                                                                                                                                                                                                        Pa e1,of1
Form Adopted for .Mandato.ry Use                                                            SUMMONS                                                                           Code of CiviliProcedure §§412.20 , 465
Judicial Counoil of Cali.fom.ia                                                                                                                                                                   www.courls.ca.gov
SUM~100 [Rev. July 1, 2009]

Fur your ,protectt.o,n and p.rivacy~.p1ease·'.pre$·S·.the.· Olear·                 _ _ _ __ ___                                          ·
Thts Form button ans you ·h ave printed the fQnn. ·                                f. Print this form J.                  I   Save this foFm             I
           Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.36 Page 26 of 28



 THE LAW OFFICES OF STEPHEN 8 . MORRIS
 2305 HISTORIC DECATUR RD ., SUITE 100                                                                ELECTRONICALLY FILED
                                                                                                       Superior Court of California,
 SAN DIEGO, CA 92106                                                                                      County of San Diego
 619-239-1300
 Atty. File No.: 37-2020-00044765                                                                       1212812020 at 06 :55 :OD PM
                                                                                                        Clerk of the Superior Court
                                                                                                        By E- Filing, Deputy Clerk

 SUPER IOR COURT OF CA., COUNTY OF SAN DIEGO
 CENTRAL DIVISION-HALL OF JUSTICE

 PLAINTIFF                WILLIAM D. PETTERSEN                                                   Case No. 37-2020-00044765-CU-BC-CTL
 DEFENDANT                CIRCLE K STORES, INC .                                                 PROOF OF SERVICE OF SUMMONS


 1.     At the time of service I was at least 18 years of age and not a party to this action .

 2.     I served copies of the SUMMONS; COMPLAINT;

 3.     a. Party Served             CIRCLE K STORES , INC ., AN ARIZONA CORPORATION
        b. Person served            CYNTHIA ENRIQUEZ, HR MANAGER
                                    (H/F/40/5FT7/140LB/RED/BRN)

 4.     Address where the party was served : 255 EAST RINCON       STE.119
                                             CORONA, CA 92879 (Business)

 5.      I served the party
         b. by substituted service. On December 17, 2020 at 04 :35 PM I left the documents listed in item 2
             with or in the presence of CYNTHIA ENRIQUEZ, HR MANAGER
                                        (H/F/40/5FT7/140LB/RED/BRN)
             (1) (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                  of the person to be served. I informed him or her of the general nature of the papers.
             (4) a declaration of mailing is attached.
             (5) I attach a declaration of diligence stating actions taken first to attempt personal service .

6.      The "Notice to the person served" (on the summons) was completed as follows:
        c.   on behalf of : CIRCLE K STORES , INC. , AN ARIZONA CORPORATION
           · under [xx] CCP 416 .1O (corporation)




7.     Person who served papers
       a. NICK SHOWS                                                   d.    FeeForService : $107.75
       b. KNOX ATTORNEY SERVICE                                        e.    I am
          1550 HOTEL CIRCLE NORTH SU ITE 440                                    (3) a registered California process server
          SAN DIEGO, CA 92108                                                      (i) an independent contractor
       C. 619-233-9700                                                             (ii) Registration No.: 2834
                                                                                   (iii) County: ORANGE, CA
8.      I declare under penalty of perjury und er the laws of the State of California that the foregoing is true and c rrect.



Date : December 22, 2020                                        Signature:
                                                                                                      NICK SHOWS

Jud. Coun . form, rul e 2.150 CRC
                                                          PROOF OF SERVICE                                      Ref. No.: 0766695-01
JC Form POS 010 (Rev. January 1, 2007)
          Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.37 Page 27 of 28


THE LAW OFFICES OF STEPHEN 8 . MORRIS
2305 HISTORIC DECATUR RD ., SUITE 100
SAN DIEGO, CA 92106
619-239-1300
Atty. File No.: 37-2020-00044765



 SUPERIOR COURT OF CA., COUNTY OF SAN DIEGO
 CENTRAL DIVISION-HALL OF JUSTICE

 PLAINTIFF                 WILLIAM D. PETTERSEN                                            Case No. 37-2020-00044765-CU-BC-CTL
 DEFENDANT                 CIRCLE K STORES, INC.                                           DECLARATION REGARDING
                                                                                           DILIGENCE
     I received the within process on       12/16/20:

                                     SUMMONS; COMPLAINT;

     After due and diligent effort I have been unable to effect personal service on the within named party at the following
     address(es):

         Party Served                CIRCLE K STORES, INC ., AN ARIZONA CORPORATION

         Business                    255 EAST RINCON STE .119
                                      CORONA, CA 92879


     Attempts to effect service are as follows :

                                     12/17/20   04:35P   Attempted service-effected substitute service




Jud . Coun . form , rule 2.150 CRC                        DECLARATION RE DILIGENCE                          Ref. No.: 0766695-01
       Case 3:21-cv-00237-H-BGS Document 1-2 Filed 02/08/21 PageID.38 Page 28 of 28
THE LAW OFFICES OF STEPHEN B. MORRIS
2305 HISTORIC DECATUR RD., SUITE 100
SAN DIEGO, CA 92106
619-239-1300
Atty. File No.: 37-2020-00044765



SUPERIOR COURT OF CA., COUNTY OF SAN DIEGO
CENTRAL DIVISION-HALL OF JUSTICE JUDICIAL DISTRICT

PLAINTIFF      : WILLIAM D. PETTERSEN                                                   Case No. : : 37-2020-00044765-CU-BC-CTL
DEFENDANT      : CIRCLE K STORES, INC.                                                  DECLARATION OF MAILING




    RE:    CIRCLE K STORES, INC., AN ARIZONA CORPORATION

    I am a citizen of the United States and am employed in the County of SAN DIEGO, State of California. I am over the age
    of eighteen years and not a party to this action. My business address is
    1550 HOTEL CIRCLE NORTH SUITE 440, SAN DIEGO, CA 92108.

    On December 21, 2020 I mailed the within documents:

                    SUMMONS; COMPLAINT;

    On the party in said action, by mailing a true copy thereof (by First-class mail, postage prepaid), enclosed in a sealed
    envelope at the mail collection site at my place of employment, addressed to the following:

                    CIRCLE K STORES, INC., AN ARIZONA CORPORATION
                    255 EAST RINCON         STE.119 CORONA, CA 92879 (Business)




    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Executed on    December 28, 2020                  at SAN DIEGO, California.




                                                           Signature:
                                                                                            ANDREA L. BALMOS

                                                                                                           Ref. No. : 0766695-01
                                                  DECLARATION OF MAILING
